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  10
                                 UNITED STATES DISTRICT COURT

  11
                            CENTRAL DISTRICT OF CALIFORNIA

  12 SARA SAFARI, PEYMON KHAGHANI,                     Case No. 8:22-CV-01562-JWH (KESx)
       on behalf of themselves and all others
  13 similarly situated, FARM FORWARD, on              PLAINTIFF FARM FORWARD’S
                                                       MOTION FOR
  14 behalf of the general public,                     RECONSIDERATION
  15               Plaintiffs,
                                                       Date: September 29, 2023
  16         v.                                        Time: 9:00 a.m.
                                                       Place: 411 West Fourth Street
  17
       WHOLE FOODS MARKET SERVICES,                           Santa Ana, California 92701
  18 INC., a Delaware corporation, WHOLE

  19
     FOODS MARKET CALIFORNIA, INC., a
     California corporation, MRS. GOOCH’S
  20 NATURAL FOOD MARKETS, INC.,                       Complaint Filed:     August 23, 2022
                                                       Discovery Cutoff: Not Set
  21 doing business as Whole Foods Market, a           Pretrial-Conference: Not Set
     California Corporation,
  22                                                   Trial Date:          Not Set

  23               Defendants.
                                                       The Honorable John W. Holcomb The
  24                                                   Honorable Karen E. Scott
  25

  26

  27
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  28
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   1                                   INTRODUCTION
   2           Pursuant to Local Rule 7-18, Farm Forward respectfully asks this Court to
   3 partially reconsider its July 24, 2023 Order Granting in Part and Denying in Part

   4 Defendants’ Motion to Dismiss (“Order”) as it relates to Farm Forward. ECF No. 78.

   5 After the Motion was briefed and argued, and just days before this Court issued its

   6 Order, the California Supreme Court published a landmark decision on organizational

   7 standing under California’s consumer protection statutes. The new authority directly

   8 supports Farm Forward’s standing in this case.1 ECF No. 73-1. This Court has paid
   9 careful attention to Article III standing throughout this litigation. Plaintiff Farm

  10 Forward respectfully requests that the Court continue its diligent review and reconsider

  11 its decision on organizational standing in light of this new authority.

  12                              PROCEDURAL HISTORY
  13           On January 10, 2023, Defendants moved to dismiss Plaintiffs’ complaint on
  14 standing grounds. ECF No. 46. Plaintiffs opposed Defendants’ motion on February 9,

  15 2023, ECF No. 48, and Defendants replied, ECF No. 50. On March 14, 2023, this

  16 Court ordered supplemental briefing on standing. ECF No. 54, and the parties

  17 submitted their supplementals brief on March 28, 2023. ECF Nos. 56, 57.

  18           On April 7, 2023, this Court heard oral argument on Defendants’ Motion to
  19 Dismiss. ECF No. 59. After this Court heard argument, Plaintiffs submitted three

  20 decisions to this Court for consideration. See ECF Nos. 60, 73. First, on April 13, 2023,

  21 Plaintiffs submitted Alliance for Hippocratic Medicine, et al., v. U.S. Food and Drug

  22 Administration, et al., No. 2:22-CV-223-Z (N.D. Texas, April 7, 2023). ECF No. 60-

  23 1. This decision addresses TransUnion, LLC v. Ramirez, ____ U.S. ____, 141 S.Ct.

  24 2190 (2021) and Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982). Plaintiffs

  25
       1
           National Law Review, Landmark California Ruling Empowers Nonprofits, Unions
  26 and Advocacy Groups to Combat Unfair Business Practices, July 28, 2023, available
       at https://www.natlawreview.com/article/landmark-california-ruling-empowers-
  27 nonprofits-unions-and-advocacy-groups-to-combat

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   1 simultaneously submitted Alliance for Hippocratic Medicine, et al., v. Food & Drug

   2 Administration, et al, No. 23-10362 (5th Cir. April 12, 2023) (unpublished). ECF No.

   3 60-2. The Fifth Circuit decision affirms organizational standing for the association and

   4 addresses Havens. In this Court’s Order, ECF No. 75, n. 2, the Court lists the

   5 documents it considered in making its decision. The Court does not mention this

   6 supplemental authority on organizational standing, ECF Nos. 60, 60-1, 60-2.

   7        On July 17, 2023, just days before this Court’s Order, the California Supreme
   8 Court published a landmark decision on organizational standing, California Medical
   9 Association v. Aetna. Farm Forward submitted this supplemental authority the same

  10 day it was published. ECF Nos. 73, 73-1. While this Court cited what it considered in

  11 its Order, ECF No. 75, n. 2, the Court did not identify this supplemental authority on

  12 organizational standing in its Order.

  13

  14                              STANDARD OF REVIEW
  15        “As long as a district court has jurisdiction over [a] case, then it possesses
  16 the inherent procedural power to reconsider, rescind, or modify an interlocutory order

  17 for cause seen by it to be sufficient.” City of Los Angeles, Harbor Div. v. Santa

  18 Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001). Under the Local Rules of this

  19 Court :

  20        A motion for reconsideration of an Order on any motion or
  21        application may be made only on the grounds of (a) a material
  22        difference in fact or law from that presented to the Court that, in the
  23        exercise of reasonable diligence, could not have been known to
  24        the party moving for reconsideration at the time the Order was
  25        entered, or (b) the emergence of new material facts or a change of
  26        law occurring after the Order was entered, or (c) a manifest showing
  27        of a failure to consider material facts presented to the Court before
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   1         the Order was entered. No motion for reconsideration may in any
   2         manner repeat any oral or written argument made in support of, or in
   3         opposition to, the original motion.
   4 L.R. 7-18. “’[T]he major grounds that justify reconsideration involve an intervening

   5 change of controlling law, the availability of new evidence, or the need to correct a

   6 clear error or prevent manifest injustice.’” Pyramid Lake Paiute Tribe v. Hodel, 882

   7 F.2d 364, 369 n.5 (9th Cir. 1989) (quoting 18 C. Wright, A. Miller & E. Cooper, Federal

   8 Practice and Procedure § 4478, at 790); see Frederick S. Wyle P.C. v. Texaco, Inc., 764
   9 F.2d 604, 609 (9th Cir. 1985); see also Keene Corp. v. International Fidelity Ins. Co.,

  10 561 F. Supp. 656, 665 (N.D. Ill. 1982) (reconsideration available “to correct manifest

  11 errors of law or fact or to present newly discovered evidence”).

  12                                      ARGUMENT
  13        Under California Medical Association v. Aetna Health Care of California, 532
  14 P.3d 250 (July 17, 2023), the California Supreme Court held that the California Unfair

  15 Competition Law’s (“UCL’s”) standing requirements are satisfied when an

  16 organization, in furtherance of a bona fide, preexisting mission, incurs costs to

  17 perceived unfair competition that threatens that mission, so long as those expenditures

  18 are independent of costs incurred in UCL litigation or preparations for such litigation.

  19 When an organization has incurred such expenditures, it has “suffered injury in fact”

  20 and “lost money or property as a result of the unfair competition.” California Medical

  21 Association v. Aetna Health Care of California, 532 P.3d 250 (July 17, 2023)

  22 (“California Medical Association”), ECF No. 71-3 at 3 (Slip Op. at 2). When taken in

  23 the light most favorable to Farm Forward, as this Court is required to do at this stage

  24 of the litigation, Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005, 1014 (9th Cir.

  25 2012); see also California Medical Association, ECF No. 71-1 at 37 (Slip Op. 36),

  26 Farm Forward’s resource expenditures are sufficient to confer Article III standing as

  27 explained by California Medical Association v. Aetna.

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   1 I.     A Diversion of Resources in Response Defendants’ Conduct Confers
            Standing, Including Resource Diversions Consistent with Plaintiff’s
   2        Mission.
   3        California Medical Association v. Aetna addressed the diversion of resources
   4 prong of the organizational standing test. California Medical Association (CMA) is a

   5 nonprofit organization, founded in 1856, that advocates on behalf of California

   6 physicians. CMA’s established mission, which it carries out through “‘legislative,

   7 legal, regulatory, economic, and social advocacy’” includes “the protection of the

   8 public health and the betterment of the medical profession.” ECF No. 73-1 at 4 (Slip
   9 Op. 3) (citing California Medical Association v. Aetna Health of California,

  10 Inc., 63 Cal.App.5th 660, 664 (2021)). CMA “has been especially active in advocacy

  11 and education on issues involving health insurance companies’ interference with the

  12 sound medical judgment of physicians providing care to enrollees.” Id.

  13        Consistent with its mission, CMA devoted time to addressing an Aetna policy
  14 that frustrated its mission, and CMA eventually sued Aetna under the UCL regarding

  15 that policy. ECF No. 73-1 at 5-6 (Slip Op. 4-5). CMA alleged that its diverted time

  16 “would other have been devoted to serving [CMA]’s membership in other respects.”

  17 ECF No. 73-1 at 6 (Slip Op. 5) There, the Court of Appeals concluded, much like this

  18 Court did here with Farm Forward, that CMA engaged in “business as usual.”

  19        If CMA’s expenditure of resources in this manner sufficed to establish
  20        standing, the appellate court reasoned, then any organization acting
  21        consistently with its mission to help its members through legislative, legal
  22        and regulatory advocacy could claim standing based on its efforts to
  23        address its members’ injuries.
  24 ECF No. 73-1 at 7 (Slip Op. 6). In reversing the Court of Appeals, the California

  25 Supreme Court rejected the notion that a diversion of resources consistent with an

  26 organization’s mission deprives an organization of standing. Critically, the Supreme

  27 Court clarifies that a “diversion” does not need to differ from an organization’s

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   1 “mission” to count as an injury in fact. Instead, it is enough that an organization diverts

   2 “salaried staff time and other office resources.” This constitutes “the loss of ‘money or

   3 property’ within the meaning of section 17204 [of the UCL].” In support, the court

   4 continues that “[e]very organization, including CMA, has finite resources to devote to

   5 its mission. If the organization uses staff time for a particular project, for example, it

   6 must either pull those hours from a different project or augment its staff.” Id.

   7        In analyzing CMA’s organizational standing, the Supreme Court posed two
   8 questions:
   9        The first is whether diversion of staff time can qualify as an “injury in fact” and
  10        loss of “money or property” within the meaning of section 17204. The second
  11        is whether an organization that chose to divert staff time to counteract the
  12        defendant’s business practice can be said to have lost that staff time “as a result
  13        of” (ibid.) that practice.
  14 ECF No. 73-1 at 9 (Slip Op. 8). The California Supreme Court concluded that, even

  15 when diverting resources to address Aetna’s policy in a way that was consistent with

  16 CMA’s mission to advocate for physicians, CMA met the standard:

  17        Even if, as here, the personnel involved are paid on a salaried basis rather than
  18        by the hour, their time clearly holds economic value to the organization. When
  19        staff are diverted to a new project undertaken in response to an unfair business
  20        practice, the organization loses the value of their time, which otherwise would
  21        have been used to benefit the organization in other ways.
  22 ECF No. 73-1 at 12 (Slip Op. 11). Likewise, Farm Forward’s mission is to end factory

  23 farming, and when Farm Forward diverted resources to address Whole Foods’ false

  24 advertising in a way that was consistent with Farm Forward’s mission, it too has

  25 satisfied standing requirements.

  26        Here, Farm Forward pled that it diverted resources and started a new campaign
  27 that was a “departure” from its work supporting Defendants’ programming. FAC ¶¶

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   1 80, 88, 91-92. Farm Forward does not plead its testing was “business as usual” and

   2 instead, it pleads that it went out of its way to develop the new campaign. Compare id.

   3 at 91 (alleging that the new campaign—testing and exposing Whole Foods—was a

   4 “significant departure” from working with the company to provide antibiotic free and

   5 high welfare products) with Order at 16 (making a factual finding that “Farm

   6 Forward’s testing regime was a continuation of its organizational mission”).

   7        The California Supreme Court recognized that the UCL’s standing test is
   8 analogous to federal law. Indeed, the UCL uses the Article III injury-in-fact test as the
   9 basis for UCL standing. The California Supreme Court cites several federal cases—

  10 many of which Plaintiffs cited in their briefing—that support its holding. ECF No. 73-

  11 1 at 21 (Slip Op. 20) (California Medical Association cites the following federal cases

  12 that Farm Forward also cited in support of their standing: Fair Hous. Council of San

  13 Fernando Valley v. Roommate.com, LLC, 666 F.3d 1216, 1219 (9th Cir. 2012); Comite

  14 de Jornaleros de Redondo Beach v. City of Redondo Beach, 657 F.3d 936 (9th Cir.

  15 2011); East Bay Sanctuary Covenant v. Trump, 909 F.3d 1219 (9th Cir. 2018); La

  16 Asociacion de Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083,

  17 1088 n.4 (9th Cir. 2010); Spann v. Colonial Village, Inc., 899 F.2d 24 (D.C. Cir. 1990);

  18 Fair Hous. of Marin v. Combs, 285 F.3d 899, 905 (9th Cir. 2002); Nnebe v. Daus, 644

  19 F.3d 147, 157 (2d Cir. 2011); Rodriguez v. City of San Jose, 930 F.3d 1123, 1134 (9th

  20 Cir. 2019)).

  21        Finally, the California Supreme Court, which was reviewing an order granting
  22 a motion for summary judgment, stated that:

  23        Viewing the evidence submitted on Aetna’s motion for summary judgment in
  24        the light most favorable to CMA and drawing all reasonable inferences in
  25        CMA’s favor, as we must (Weiss v. People ex rel. Department of
  26        Transportation, supra, 9 Cal.5th at p. 864), we conclude the evidence established
  27        a triable issue of fact as to standing to sue under the UCL.
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   1 ECF No. 73-1 at 37 (Slip Op. 36). Here, at a minimum, Farm Forward’s allegations

   2 establish triable issues of fact as to standing to sue under the UCL. Indeed, this Court

   3 recites Farm Forward’s allegations as follows:

   4         Farm Forward also avers that it suffered financial losses as a result of
   5         Whole Foods improper actions and that it devoted significant staff time
   6         and organizational resources to address Whole Foods’ false advertising.
   7         Those expenditures included at least $80,000 in purchasing Whole Foods’
   8         products, shipping those products to testing laboratories, and paying
   9         laboratory-testing fees. Farm Forward alleges that in addition to the
  10         resources that it expended on its information campaign, it also had to
  11         reallocate resources from other initiatives to address its Whole Foods
  12         investigation. As part of its public awareness campaign, Farm Forward
  13         spent $12,000 on a consumer survey concerning Whole Foods and its
  14         meat advertising claims. If Farm Forward had not undertaken the
  15         corrective initiatives described above, it claims that it would have
  16         suffered reputational injuries with its supporters.
  17 ECF No. 75 at 5 (citing FAC ¶¶ 88-9, 92, 93, 94).

  18         As the California Supreme Court confirmed in California Medical Association
  19 v. Aetna, these facts must be viewed “in the light most favorable to [Farm Forward]”

  20 and the Court must draw “all reasonable inferences in [Farm Forward’s] favor.” ECF

  21 No. 73-1 at 37 (Slip Op. 36).

  22
       II.   Where the Organization’s Mission Has Been Impaired or Threatened, the
  23         Diversion of Resources is Traceable Defendants’ Conduct.
  24         California Medical Association v. Aetna also addresses traceability. There, the
  25 court explained that, while the UCL’s traceability requirement was not borrowed from

  26 federal standing law, the closeness of the factual contexts “makes cases applying

  27 Havens somewhat helpful in understanding how causation works for organizational

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   1 standing” under the UCL. To satisfy the traceability requirement, “there must be a

   2 causal connection between the injury and the conduct complained of — the injury has

   3 to be ‘fairly . . . trace[able] to the challenged action of the defendant, and not . . . th[e]

   4 result [of] the independent action of some third party not before the court.’” ECF No.

   5 73-1 at 31 n. 9 (Slip Op. 30) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560

   6 (1992)). “Where the organization’s mission has been impaired or threatened, courts

   7 have deemed the diversion of resources traceable to the defendant’s conduct.” Id.

   8 (citing Comite de Jornaleros de Redondo Beach v. City of Redondo Beach, 657 F.3d
   9 936, 943 (9th Cir. 2011) (organization assisting day laborers established sufficient

  10 “causal connection” between city’s antisoliciting ordinance and organization’s

  11 diversion of resources) (further citations omitted). The Supreme Court concluded

  12 that the efforts CMA took to help its members deal with Aetna’s policy, to persuade

  13 Aetna to stop enforcing its policy, and to spur regulatory action against the policy were

  14 caused by Aetna’s policy. ECF No. 73-1 at 31 n. 9 (Slip Op. 30).

  15         The “UCL does not require that the defendant’s conduct be the proximate cause
  16   of the diversion of resources, but even if the UCL imported a proximate cause
  17   requirement from tort law,” Farm Forward alleges that Whole Foods’ conduct (falsely
  18   advertising its beef products) was the cause of Farm Forward’s diversion of resources.
  19   FAC ¶ 80. This Court’s conclusion that Farm Forward’s actions “are no longer
  20   traceable to Whole Foods’ conduct when Farm Forward ‘had a similar incentive to
  21   engage in many of the countermeasures that it is now taking” conflicts with California
  22   Medical Association and Farm Forward’s allegations. Farm Forward alleges that it
  23   worked with Whole Foods to promote Whole Foods’ products and in fact, it spent its
  24   own resources for a decade to do just that. FAC ¶ 81. The countermeasures that Farm
  25   Forward alleges are diversions and traceable to Whole Foods’ conduct are in direct
  26   response to Whole Foods’ misrepresentations. FAC ¶ 56. In other words, Farm
  27   Forward alleges it would have had no need to “test” Whole Foods’ beef products or
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   1   “expose confusion and misrepresentations among consumers,” FAC ¶ 88, had Whole
   2   Foods not misrepresented its products to Farm Forward and the public. There is no
   3   intervening act breaking the causal chain, and there would be no incentive to “expose”
   4   Whole Foods without Whole Foods misrepresentations. ECF No. 73-1 at 31 n. 9 (Slip
   5   Op. 30); Federal Election Commission v. Ted Cruz for Senate, 142 S.Ct. 1638, 1647
   6   (2022) (citing Havens) (“[W]e have made clear that an injury resulting from the
   7   application or threatened application of an unlawful enactment remains fairly
   8   traceable to such application, even if the injury could be described in some sense as
   9   willingly incurred.”) (emphasis added). While Federal Election Commission involved
  10   individual standing, it stands for the proposition that a plaintiff can willingly incur
  11   injury and still have standing. Compare id. with Order at 17 (“Because Farm
  12   Forward’s testing program was a continuation of its existing mission to end factory
  13   farming, it fails to meet the Ninth Circuit’s requirement for organizational standing.”).
  14   In other words, that Farm Forward had an incentive to end factory farming in no way
  15   breaks the causal chain for standing when it diverted resources to counteract
  16   Defendants’ unlawful acts. And that it chose to divert resources to counteract
  17   Defendants’ unfair competition does not defeat organizational standing.
  18 III.    Havens is Still Binding Precedent.
  19         The California Supreme Court relied heavily on Havens in its 2023 decision
  20 finding standing for an organization under the UCL. It also cites to TransUnion to

  21 describe the broad range of injuries that can be concrete, in contrast to the UCL’s strict

  22 loss of money or property focus. ECF No. 73-1 at 11 (Slip Op. 10) (citing TransUnion,

  23 LLC v. Ramirez, ____ U.S. ____, 141 S.Ct. 2190, 2204 (2021) (“As a matter of federal

  24 law, an injury can only be concrete – i.e., real and not abstract – even if the injury is

  25 personal instead of economic; even certain intangible injuries qualify as injury in

  26 fact.”). That is to say, the California Supreme Court recognized the concrete injury

  27 standard set forth by TransUnion and found that the diversion of resources injury that

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   1 is the basis of organizational standing under the UCL is a concrete economic injury.

   2 Had the California Supreme Court determined that Havens organizational standing

   3 was no longer relevant and resource diversions were no longer cognizable injuries

   4 under Article III after TransUnion, it could not have found for CMA and instead, would

   5 have dismissed on standing grounds.

   6        Instead, the California Supreme Court cites Havens nineteen times in support of
   7 its conclusion that an organization can claim injury in its diversion of limited resources

   8 to respond to a threat to its own mission. ECF No. 73-1 at 18 (Slip Op. 17). Farm
   9 Forward alleged that Defendants threatened their mission to end factory farming,

  10 because they were selling meat—and Farm Forward was promoting Whole Foods’

  11 meat—as better and best choices for conscious consumers when in fact it was no

  12 different than factory farmed meat. FAC ¶ 80. That is a direct threat to the

  13 organization’s mission and one which required Farm Forward to divert resources. FAC

  14 ¶ 94. “As Havens and its progeny make clear, an organization that has expended staff

  15 time or other resources on responding to a new threat to its mission, diverting those

  16 resources from other projects, has suffered an economic injury in fact.” ECF No. 73-1

  17 at 24 (Slip Op. 23). And both history and tradition and Article III empower federal

  18 courts to hear cases that allege an economic injury. ECF No. 73-1 at 14 18 (Slip Op.

  19 13) (Under the heading ‘economic injury’ the California Supreme Court states “CMA

  20 ‘lost money or property’ (§ 17204) when its personnel were diverted from other

  21 activities that would also have served its goal of assisting its physician members.”); S.

  22 California Hous. Rts. Ctr. v. Los Feliz Towers Homeowners Ass’n, 426 F. Supp. 2d

  23 1061, 1069 (C.D. Cal. 2005) (same).

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   1                                    CONCLUSION
   2        Plaintiff Farm Forward respectfully requests that this Court reconsider its
   3 decision in light of California Medical Association v. Aetna.

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       DATED: August 7, 2023
                                                   Respectfully submitted,
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